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Prob 12C 12/04


                              UNITED STATES DISTRICT COURT
                                            for the
                                 Northern District of Oklahoma

                    Petition for Warrant for Offender Under Supervision

 Name of Offender:                  Clint Wesley Menzo Lawrence       Case Number: 11-CR-0159-002-CVE
                                                                      FILED UNDER SEAL
 Date of Original Sentence:         June 26, 2012
 Original Offense/ Statute:         Conspiracy to Possess With the Intent to Distribute 500 Grams or More of
                                    Methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and
                                    (b)(1)(A)(viii)
 Original Sentence:                 One-hundred-fifty-one-month term of imprisonment, five-year term of
                                    supervised release, $100 Special Monetary Assessment
 Type of Supervision:               Supervised Release
 Date Supervision Commenced:        June 9, 2023
 Date Supervision Expires:          June 8, 2028


                                        PETITIONING THE COURT

to issue a WARRANT so defendant may be brought before the Court to show cause why the term of
supervision should not be revoked.

The probation officer believes that the offender has violated the following condition(s) of supervision:

     Violation     Nature of Noncompliance
     Number
         1         Violation of Special Condition No. 2: The defendant shall successfully participate in a
                   program of testing and treatment, to include inpatient treatment, for drug and alcohol
                   abuse, at a treatment facility and on a schedule determined by the probation officer.
                   The defendant shall abide by the policies and procedures of the testing and treatment
                   program to include directions that the defendant undergo urinalysis or other types of
                   drug testing consisting of no more than eight tests per month if contemplated as part of
                   the testing and treatment program. The defendant shall waive any right of
                   confidentiality in any records for drug and alcohol treatment to allow the probation
                   officer to review the course of testing and treatment and progress with the treatment
                   provider.




                                                                                        c/USPO, USA, USM
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           On January 25, 2024, August 30, 2024, October 7, 2024, and October 29, 2024, Lawrence
           submitted urine specimens that were diluted.

           On August 19, 2024, September 7, 2024, and December 4, 2024, Lawrence failed to submit
           urine specimens as directed.

           On December 23, 2024, December 30, 2024, January 13, 2025, and January 20, 2025,
           Lawrence failed to have his sweat patch applied as directed.

   2       Violation of Mandatory Condition No. 4: The defendant shall not unlawfully possess a
           controlled substance.

           On September 20, 2024, and November 18, 2024, Lawrence submitted a urine specimen that
           tested positive for amphetamine and methamphetamine.

           United States Probation Officer Garrett Russell would testify that on September 20, 2024,
           and November 18, 2024, Lawrence submitted a urine specimen that tested positive for
           amphetamine and methamphetamine. Officer Russell would testify that on September 25,
           2024, during a phone call, Lawrence admitted to taking unknown pills from a man he met at
           a pool bar.

   3       Violation of Standard Condition No. 2: The defendant shall report to the probation
           officer as directed by the court or probation officer and shall submit a truthful and
           complete written report within the first five days of each month.

           On January 14, 2025, Lawrence failed to report to the probation office as directed.

           United States Probation Officer Garrett Russell would testify that on January 14, 2025, he
           sent a text message to Lawrence instructing him to report to the probation office by 11:00
           a.m. Officer Russell would testify that Lawrence failed to report as directed.

   4       Violation of Standard Condition No. 6: The defendant shall notify the probation officer
           at least ten days prior to any change of residence or employment.

           On approximately January 14, 2025, Lawrence changed residences and failed to notify the
           probation officer. Lawrence’s whereabouts are currently unknown.

           United States Probation Officer Garrett Russell would testify that on January 3, 2025, he
           attempted a home visit at Lawrence’s reported residence. Officer Russell would testify that
           Lawrence’s female roommate answered the door and stated that Lawrence was at work, and
           that he still resided at the residence. Officer Russell would testify that on January 15, 2025,
           he attempted another home visit with Lawrence at his reported residence. Officer Russell
           would testify that two young girls who reside at the residence answered the door and advised
           that Lawrence had moved out. Officer Russell would testify that he attempted to contact
           Lawrence by phone two times, and Lawrence did not respond. Officer Russell would testify
           that on January 16, 2025, he attempted to call Lawrence and sent him a text message
           instructing him to contact the probation office. Officer Russell would testify that on January
           16, 2025, he spoke with Lawrence’s supervisor, Tony, who advised that he was unsure if
           Lawrence was working today, and that Lawrence did not answer the phone when he attempted
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                   to call him. Officer Russell would testify that Tony stated he told Lawrence that he needed to
                   communicate with his probation officer and comply with his conditions of supervision.
                   Officer Russell would testify that, on January 21, 2025, he spoke with Tony again, who
                   advised that Lawrence had not reported for work since January 17, 2025, and that Lawrence
                   has not responded to his phone call attempts. Officer Russell would testify that, on January
                   21, 2025, he attempted another home visit at Lawrence’s reported residence and spoke with
                   the homeowner, Chris. Officer Russell would testify that Chris advised that Lawrence has not
                   lived at that residence since approximately January 14, 2025, and that he is unaware of
                   Lawrence’s whereabouts. Officer Russell would testify that Chris stated that he and his wife
                   would attempt to contact Lawrence and ask him to contact his probation officer. Officer
                   Russell would testify that on January 22, 2025, he attempted another home visit at Lawrence’s
                   reported residence and spoke with the homeowner, Chris, who advised that they have not
                   heard from Lawrence since last speaking with Officer Russell the previous day. Officer
                   Russell would testify that his last contact with Lawrence was on January 7, 2025, and
                   Lawrence has made no attempts to contact Officer Russell as directed. Officer Russell would
                   testify that Lawrence failed to notify his probation officer of his change of residence and
                   employment as directed. Officer Russell would testify that Lawrence’s whereabouts are
                   currently unknown.


    Exhibits       Exhibit A: Copy of the relevant pages of the Judgment reflecting the conditions of
                   supervision ordered by the Court and the defendant’s signature acknowledging that he read,
                   understood, and received a copy of the imposed conditions.

                   Exhibit B: Copy of an Alere Laboratory Drug Test Report which reflects that the urine
                   sample submitted by the defendant on September 20, 2024, tested positive for
                   methamphetamine.
                   Exhibit C: Copy of an Alere Laboratory Drug Test Report which reflects that the urine
                   sample submitted by the defendant on November 18, 2024, tested positive for
                   methamphetamine.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 27, 2025



 s/ Garrett Russell
 Garrett Russell
 United States Probation Officer

 Reviewed by,


 s/ Alton Walker
 Alton Walker, Supervising
 United States Probation Officer
 Date:      1/27/2025
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 THE COURT ORDERS:

☐     No Action
☒     The Issuance of a Warrant
☐     The Issuance of a Summons
☐     Other:


It is further the Order of the Court that the Clerk of Court distribute the Petition and Order to the United States
Probation Office, the United States Marshals Service, and the United States Attorney’s Office only.




                                                                   January 28, 2025
 Claire V. Eagan,                                                  Date
 United States District Judge
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                                                                                EXHIBIT
                                                                                       B
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